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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

United States of America,             )
                                      )
                 -vs-                 )              8:19-CR-00181
                                      )              Motion for Bond
Donald Nathaniel Thomas, Jr.          )


       Donald Nathaniel Thomas, Jr. , pursuant to 18 U.S.C. § 3142, moves this Court for an

Order setting the terms and conditions of his release pending trial in this matter. This motion is

based upon the fact that Donald Nathaniel Thomas, Jr. is not a flight risk nor a danger to the

community. Donald Nathaniel Thomas, Jr. is informed and believes that this Court can set such

terms and conditions as would reasonably assure the presence of Mr. Thomas at trial and protect

the community.

       Counsel for Mr. Thomas has a prior obligation with the South Carolina Court of Appeals

on May 16, 2019.

April 23, 2019                                               /s/ C. Rauch Wise
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